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                                 UNITED STATES DISTRICT COURT
                             IN THE WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION


DANIEL WILLIAM RUDD,

                                                            Case No. 1:18-cv-124
                Plaintiff,
                                                            Honorable Gordon J. Quist
        v.                                                  U.S. District Court Judge

CITY OF NORTON SHORES, et al.,
.                                                              PLAINTIFF’S
                                                          MOTION FOR SANCTIONS
                Defendants.

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                       PLAINTIFF’S MOTION FOR SANCTIONS
                     AGAINST THE NORTON SHORES DEFENDANTS

   A copy of this motion, including the email correspondence which is attached as Exhibit A,
   were served on counsel for all defendants on 9/21/18, (See Proof of Service, ECF No. 65.)
              For the reasons stated in the motion, and in Plaintiff’s supporting brief,
    Plaintiff asks this Court to set this matter for hearing and fashion an appropriate remedy.
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     (DRAFT) Plaintiff’s Motion For Sanctions Against the Norton Shores Defendants

1) On 9/11/18, the Norton Shores Defendant’s (“The City”) filed a motion for judgement
      on the pleadings under Rule 12(c). The supporting brief (ECF No. 61) includes several
      statements which claim to identify the totality of factual allegations which Plaintiff has
      plead. However, The City has knowingly omitted relevant factual claims. The City has
      also misrepresented the substance of important factual allegations in Plaintiff’s
      complaint. Under the circumstances of this case, The City has failed to meet the
      standard set forth in Rule 11.

2) The City’s argument for judgment on the pleadings begins by claiming to list all of
      Plaintiff’s factual allegations against the City (Id., at PageID.438, emphasis added)..
         Once the conclusory assertions and subjective speculation are discounted the only
         actual facts the plaintiff alleges against the Norton Shores defendants are these.

      The first few pages of the City’s brief make it clear that Mr. Callahan is aware of many

      other non-conclusory and non-speculative factual allegations which Plaintiff has
      asserted against the City (see Id., at PageID.429-435). These are omitted, but the Court
      is assured that the list is comprehensive.

3) Here is one example of a substantial omission which has a material effect on the
      controversy:
         -In July 2013 plaintiff requested assistance from the Norton Shores Police
         Department to recover his children from their mother (his ex-wife) but his request
         was refused.” (Id. PageID.438).

      Mr. Callahan is aware that Plaintiff has stated many other factual allegations which

      pertain to Plaintiff’s requests and the NSPD response.1 The City omits substantial detail
      while claiming to present all the facts Plaintiff has alleged against the City.


1
 Plaintiff reported the missing children were at risk due to well documented history of domestic
violence, child abuse, child neglect; and a volatile breakup between the Noncustodial Mother and

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4) The City’s bullet point paraphrasing of allegations also incorrectly state the substance
   of Plaintiff’s factual allegations as plead (Id. PageID.439):
       -Two years later, in July 2015, Chief Gale met with plaintiff to discuss plaintiff’s
       concerns about the NSPD’s response to the July 2013 incident.
       -Following the meeting Chief Gale provided a copy of plaintiff’s written complaint to
       Mark Meyers, Melissa Meyers and Dan Shaw.
       -Attorney Michelle McLean obtained a PPO against plaintiff on behalf of Melissa
       Meyers.
       -The Norton Shores Police Department entered the PPO into the LEIN.

   This is not what occurred and not Plaintiff alleged:

   a) Plaintiff actually alleged that Chief Gale circulated Plaintiff’s 7/20/13 Citizen
       Complaint immediately after receiving it and before he had investigated anything or
       communicated with Plaintiff at all. Plaintiff also alleges that this was in direct
       violation of department policy (ECF No. 1, PageID.14).

   b) The City falsely asserts that Attorney McLean was successful in obtaining a PPO
       against Plaintiff and suggests that the Norton Shores Police Department simply
       entered that PPO into the LEIN database (like any other PPO would be entered):
             -   Attorney Michelle McLean obtained a PPO against plaintiff on
                 behalf of Melissa Meyers.
             -   The Norton Shores Police Department entered the PPO into the
                 LEIN.

   This is a jarring misrepresentation of what Plaintiff has alleged (Id. PageID.17-18).
   Plaintiff claims that AFTER Attorney McLean’s efforts to obtain a PPO failed, the City
   entered a Stalking/PPO against Plaintiff without a valid court order.                       This
   misrepresentation is material to many of Plaintiff’s claims against the City.



her third husband. NSPD refused to investigate, assist or enter missing person reports—
ultimately threatening Plaintiff with an unwarranted arrest. (ECF 1, PageID.5-6; ECF no. 1-1 at
PageID.31).

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5) The City’s brief acknowledges that City officials participated in the nondomestic PPO
   litigation and the corresponding criminal contempt proceedings against Plaintiff. The
   City acknowledges sending correspondence to Plaintiff on or about the same day as the
   criminal contempt proceedings were initiated and served. As noted by the City’s brief
   (ECF No. 61, PageID.434), the correspondence was sent to Plaintiff on behalf of Mayor
   Gary Nelund. The letter advises Plaintiff that he is being “monitored” by the City and
   plainly states the City’s concern with Plaintiff’s petitioning activity:

      We have information that leads us to believe that you have made serious defamatory
      and disparaging remarks about Mr. Meyers, as well as other members of the Norton
      Shores Police Department. Please treat this letter as a notice to you that we will take
      whatever action is legally necessary to protect the professional and privacy rights of
      Mr. Meyers.

   Mr. Callahan’s brief also includes verbatim citations to the following factual allegations

   which are stated in Plaintiff’s complaint:
      Attorneys Baar and McLean repeatedly indicated that plaintiff could avoid
      incarceration by agreeing that he would no longer engage in “conduct” which was
      “concerning” to Melissa Meyers and Mark Meyers – specifically referring to plaintiff’s
      7/20/15 complaint and corresponding FOIA requests. (¶ 94).
      Mr. Baar specifically stated that they were looking for an agreement that plaintiff
      would not take “any action” against Mark Meyers or Melissa Meyers. Attorney Mclean
      specifically asked plaintiff if he was willing to “stop going to the city.” (¶ 95).
      Attorneys Mclean and Baar disagreed and advised that Police Chief Jon Gale, First
      Lieutenant Chris McIntire (Michigan State Police), Attorney Doug Hughes and city
      manager Mark Meyers were outside in the hall and prepared to testify that plaintiff
      had been engaging in very concerning behavior. … (¶ 97).
      Throughout the meeting, attorneys Baar and Mclean repeatedly attempted to coerce
      plaintiff into dropping any complaints against the City of Norton Shores. (¶ 100).

6) Although Mr. Callahan acknowledge that these factual allegations have been plead, he
   proceeds to suggest that (emphasis added):
      Simply put, while the plaintiff’s Complaint is littered with a plethora of speculation,
      innuendo and subjective musings, nowhere is there a single factual allegation showing
      the defendants agreed to “a single plan” to retaliate against plaintiff or that the
      defendants “shared the same general conspiratorial objective.”


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   (ECF No. 61, PageID.440) This claim does not demonstrate a sufficient inquiry or
   review of the pleadings.      Instead of addressing the facial sufficiency of the factual
   allegations stated on the previous page, The City’s brief suggests (without support or
   explanation) an alternate “basis” for the the Norton Shores involvement in the
   nondomestic PPO and criminal contempt litigation:
      In spite of the fact that this entire litigation arises from a state court child custody
      dispute, plaintiff completely disregards that as the basis for his interactions with
      Attorneys Meyers, McLain and Baar. Instead, plaintiff attributes “a single plan” to
      these attorneys and the Norton Shores defendants to retaliate against him for
      exercising his First Amendment rights. The hubris this exhibits is stunning. (Id.,
      PageID.440, emphasis added)

   This is undeveloped theory is improperly raised on a Rule 12(c) challenge. Even if that

   were not the case, Mr. Callahan offers no explanation why the “basis” he offers is more
   plausible than a common desire to silence Plaintiff’s complaints against Mark Meyers,
   Melissa Meyers, Chief Shaw, Chief Gale and the other Norton Shores Defendants.

   Instead of providing such an explanation, Mr. Callahan simply resorts to disparaging
   remarks about Plaintiff as a person: “The hubris this exhibits is stunning.”

7) The Brief continues with another misrepresentation regarding the scope of what has
   been plead.
      The only thread that connects the defendants is the fact that Mark Meyers, the City
      Manager, is married to Melissa Meyers. That gossamer string will not bear the weight
      of plaintiff’s conspiracy theory. “While they need not produce direct evidence of a
      meeting of the minds, Appellants must come forward with specific circumstantial
      evidence that each member of the alleged conspiracy shared the same conspiratorial
      objective.” Pahssen v. Merrill Cmty. Sch. Dist., 668 F.3d 356, 368 (6th Cir. 2012).

   It is misleading to suggest that Plaintiff relies only on the fact that Mark Meyers and
   Melissa Meyers are married to support his claim of concerted action. The first several
   pages of Mr. Callahan’s brief clearly demonstrated his awareness of many other factual
   allegations.



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   Additionally, this portion of the brief relies on inapplicable case law to suggest that the
   Court should employ the legal standards for a ruling on summary disposition. It is
   incorrect to suggest that the ruling in Pahssen requires Plaintiff to “come forward with
   specific circumstantial evidence…” That is not the standard for a Rule 12(c) motion.

8) The following page of the brief (Id., PageID.441) also distorts the substance of the
   pleadings with a familiar narrative:
      Here, plaintiff offers nothing more than conclusions and opinions to claim there was
      a meeting of the minds among the alleged conspirators. All plaintiff has alleged is that
      a contentious custody dispute existed in which both parties went to the local law
      enforcement agency with complaints of criminal conduct. (City’s Brief, ECF No. 61,
      PageID.441).

   Again the City claims to be presenting “All plaintiff has alleged” while knowingly
   omitting significant factual allegations, of which Mr. Callahan is clearly aware.
   However, this section also misstates the substance of what was alleged:

   a) Plaintiff has not alleged that the NSPD was asked to resolve a contentious custody
      dispute. Plaintiff has alleged that there was no dispute regarding the custody orders
      or the fact that the mother had absconded with the children in violation of those
      orders.

   b) Plaintiff has not alleged that both parents sought police assistance. The City has
      fabricated this detail to convey a classic he-said/she-said dilemma. This was not the
      case and is certainly not the circumstances which Plaintiff has alleged.

   c) Plaintiff has not alleged (and is not aware of) any official complaints submitted
      against Plaintiff by the Noncustodial Mother or by anyone else. There is no record
      that the Noncustodial mother even spoke to the police.

   Collectively, these distortions have a substantial bearing on what was required of
   Norton Shore Police Department under state and federal law.



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9) The City’s Brief, when taken as a whole, does not conform to the requirements and
   legal standards of Rule 11 as it relates to a Rule 13(c) motion.

10)   Plaintiff asserts that the misrepresentations and inaccuracies described above
   should be treated more seriously for the following reasons:

   a) The exact nature of what Plaintiff has stated in his pleadings is the central question
      on Motion for Judgement On The Pleadings under Rule 12(c).

   b) Mr. Callahan is an experienced litigator, working alongside a team of experienced
      litigators.

   c) Mr. Callahan opens his brief by acknowledging the succinct summary of factual
      allegations which this Court provided in the 8/18/18 OPINION.
           The Court has set forth a detailed recitation of the facts alleged in
           plaintiff’s Complaint in ruling on Lt. McIntire’s motion to dismiss. Rudd
           v. City of Norton Shores, No. 1:18-CV-124, 2018 WL 3751399, at *1
           (W.D. Mich. Aug. 8, 2018).

   d) The filing does not offer anything which could not have been argued as a Rule 12(b)
      motion to dismiss. This indicates the possibility of an improper purpose such as
      delaying discovery and/or making it more difficult for Plaintiff to complete an
      amended complaint in a complex litigation.

   e) Mr. Callahan needlessly includes disparaging remarks about the Plaintiff (“The
      hubris this exhibits is stunning.”) This violates Mr. Callahan’s obligation to “treat
      with courtesy and respect all persons involved in the legal process.” MRPC 6.5.

   f) This not the first time that Mr. Callahan his interjected discourteous and
      unprofessional remarks which tend to undermine court process.




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11)   While Plaintiff was attempting to schedule the required joint meeting, Mr.
   Callahan levied a completely baseless allegation against Plaintiff in unnecessary
   remarks which were sent to the other attorneys on the case.

   a) Without offering any specifics of support, Mr. Callahan claimed that Plaintiff had
      mistreated one of his colleagues so severely that Plaintiff would not be welcome
      at the offices of Plunkett Cooney (See Exhibit A, page 7).
           “Mr. Rudd: There will be no meeting at the Grand Rapids office. I have
           had a chance to review the FOIA lawsuit, and am rather appalled at the
           treatment afforded to Mrs. Hall in that case.”

   b) Mr. Callahan was aware that his inflammatory remarks mirror the narrative which
      the Bolhouse Defendants and Melissa Meyers have been trying to establish for years.

   c) Mr. Callahan was aware that Plaintiff, a non-lawyer, was required to schedule a
      joint meeting. This Court’s 8/20/18 ORDER (ECF No. 52) indicates that “Plaintiff
      shall be responsible for scheduling the meeting which shall be conducted in person
      or by telephone.”

   d) Mr. Callahan was also aware that there was no shortage of hostility coming from
      the other attorneys; AND that the other attorneys were not cooperating in
      scheduling the joint meeting. (See Exhibit A, pp. 1-6). Mr. Callahan knew that
      Attorney Steven Schultz (who had recently substituted into the litigation) would be
      likely to accept Mr. Callahan’s disparaging representation at face value.

   e) Although Plaintiff has requested that he do so, Mr. Callahan has failed to identify
      any basis for his claim that Plaintiff had mistreated or been disrespectful to Attorney
      Lisa Hall at any time. Plaintiff asserts that Mr. Callahan interposed these allegations
      for the sole purpose of impeding Plaintiff’s efforts to schedule a joint meeting.




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12)   In addition to the obligations set forth in MRPC 6.5, and the obligation to verify the
   truth of statements which purport to be on the attorneys own knowledge, the Michigan
   Rules of Professional Conduct also require attorneys to be more circumspect when
   dealing with an unrepresented litigant in circumstances where a disparity of power can
   arise.

13)   Mr. Callahan’s duties as an officer of the court take precedence over his efforts to
   accomplish the objectives of his clients. When an attorney engages in the type of tactics
   described above, that conduct diminishes public confidence in the legal system.

  This is a draft of Plaintiff’s Motion for Sanctions against the Norton Shores Defendants. This
draft is intended to give notice and opportunity for Attorney Callahan to respond regarding the
alleged violations of Rule 11(b). The allegations of misconduct described in paragraph 11
(including sub paragraphs) give notice of conduct which may warrant sanctions under a
different court rule.



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                              10/22/18          /s/ Daniel William Rudd
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